Case 1:19-cv-01268-JDT-cgc Document1 Filed 11/14/19 Pageiof4 PagelD 10

IN THE UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

\ ‘ \ j | Aamo Sn - CET EN 5
Richaro Allen Hutton -————
NOV 14 2019

 

Lui,

 

(Enter above the full name of the plaintiff
or plaintiffs in this action.)

 

VS.

Tohnny Alexander + Tray White
Amanda Mootle

Wathan Kersey

(Enter above the full name of the defendant

or defendants in this action.)

COMPLAINT FOR VIOLATION OF CIVIL RIGHTS UNDER 42 U.S.C., $1983

I. Previous Lawsuits

A. Have you begun other lawsuits in state or federal court dealing with the same facts
involved in this action or otherwise relating to your imprisonment? Yes () No (

B. If your answer to A is yes, describe each lawsuit in the space below. (If there is more
than one lawsuit, describe the additional lawsuits on another piece of paper, using
the same outline.)
1. Parties to this previous lawsuit
“tiffs: ‘Rickar Hotton
Plaintiffs: wichar p Lut 6 [V
Vs’.
Defendants; Oh nny Ale xan der -— [rac Y LW hy +r
Amanda Moore — Neattan Kersey

. Court (if federal court, name the district; if state court, name the county):

NM

 

3. Docket Number:

 

4. Name of judge to whom case was assigned;
5. Disposition (for example: Was the case dismissed? Was it appealed? Is it still

 

 

 

pending?)
6. Approximate date of filing lawsuit:
7. Approximate date of disposition:

 

-l|- Revised 4/18/08
 

 

a _ a i

Case 1:19-cv-01268-JDT-cgc Document1 Filed 11/14/19 Page 2of4 PagelD 11

Il. Place of Present Confinement: Har nih Cay Un ty Car rec + idn q| Facs ‘ fs ty
A. Is there a prisoner grievance procedure in the institution?

Yes (j No ()
B. Did you present the facts relating to your complaint in the state prisoner grievance
procedure? Yes ( NoQ

C. If your answer is Yes:
l. What steps did you take? © nd 5S et More grievance about Med
SLi tl Nothing berng Nove, Ty < Age For Expl naticen«
2, What was the result? Moth ng being done
NO Explanatién 2
D. If your answer is No, explain why not:

“

hicks

 

 

Il. Parties
(In item A below, place your name in the first blank and place your present address in the
second blank. Do the same for additional plaintiffs, if any.)
A. Name of Plaintiff _[2 {chav © blew Hutton

Address D005 Wadler Street. Sevanneh, Venngsysee 3952 2

(In item B below, place the full name of the defendant in the first blank, his official

position in the second blank, and his and his place of employment in the third blank.

Use Item C for the names, positions, and places of employment of an additional

defendants.)

B. Defendant So A On Y Ale Xan fi ef is employed as
hecis

nde. CE:

 

C. Additional Defendants: They White Vou ul Ad minister ra tor
Amanda (WA eer b -Nurs €
Nothan Kersey = Pe
All ALG C.F,

IV. Statement of Claim

State here as briefly as possible the facts of your case. Describe how each defendant is
involved. Include also the names of other persons involved, dates, and places. Do not
give any legal arguments or cite any cases or statutes. If you intend to allege a number of
related claims, number and set forth each claim in a separate paragraph. Use as much
space as you need. Attach extra sheet if necessary.

QDx Z Richard i Hit iid AN somes $$ onc & o ait nt OS. Stes — inl (CF) tee Lor?

} Va c oO 3 E v a sent ee Sick
ne > Tae NUtse anche went’. cet ek Time T ‘asl sor WO voles Dae mole
Bek a <peeene, COU\A ‘ps (any Chew desu 1 Thy /H CCF) T Tepid § wef COW mee
a alle D5 rgote. fet we (ice Re The call Te wAsy a sTet awd she. LAMLe dowd cont I
Miy wiek's Wwe her heres te€ LZ hawe wot SEEN Ws POOLE Oy att Ween WEL
ine Ctunctels £ WA ee been CVENW, The win wes! 5 conch wil 2 a manth $ L
have hod 3 dose ox italaz, ——— — “Flenaza,, cud NO _saholer thet

ms" ors a “oa } F es " melo ae Tiwe 5

 

   
 

 

- 5
sae Revised 4/19/08 OV EN >
 

_ Sinte FT ues expected TO have
Them net can ‘Lor the wud = teed Lot a “cheulel Wave theese

wee we O-29-09 LF was 7 co wisn haché cu Sekera \ ©. have
tL Merxite Block but Wis denied medio Trectiment ia eee

GA ephcnnnee ow pete Ws Medical condition awd biorl sugel
1G.

=f 10 she. mie en ctl er’ dynes oF hele cuted Vo ce r¢ 3 Was
mld (2 ame Family sonal pag f we. Je ao Thed wo CAaAGTY

“Thea tae ng | pays bot he thee) does ae 7
__ "TO Sase i dispar ad Wane. bleed ly wif tine ud "ae hes a She

: cl ppers Thaw < CxO asia, ound spreading “the Petes at hel 2 C
Cond Abc uncles SOW CitcumeTances Cir the ack Ne z

Case 1:19-cv-01268-JDT- D t1 Filed 11/14/19 P ,
V- coc ocum lent 1 | Seana "ag ooh of C7 oO yan (.

 

 

 

 

 

 

 

 

       
 

 

 

    
 

     

 

 

; S i fa
has no_ law lebass Or “he inmates Fo deo There egal Lt
A Med @ ; Ae iacwede « ake A als mem
(Ob ‘Che (20 es - Ne F dors AO naAV Ee Pech cal out

 

aad has but one chutch 7 come nhonae: uching 4
Yeligion on we. “hat L. Aex Wok Mocleave. UML ancl Theg put
the clued {athe cells aad

ert “tal a ThoeLeeoTen Awe te a's Ltith, WETOUC TOS They
Gon EE ecient pe Sloe ag Res with
tratot back

 

 

 
 
    

 

 

Ryncy The Owe els no mode
mmate’ fe NO ¢ LS 7 |

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 
 

é£ Case 1:19-cv-01268-JDT-cgc Document1 Filed 11/14/19 Page 4of4 PagelD 13

 

VI.

Relief

State briefly exactly what you want the court to do for you. Make no legal arguments.
Cite no cases or statutes.

 
   
       

and The Bewe . tS At Fhe OX vere gucl ~ilets —the remade
Ox iAG ise. ond A LS milion Sok werd col aod lo Al
Wlias Din awe Wow Suber CAC a church L de a bé\ mde
iv AA fe: Us hed OW VA carnal ich Lie Tz hee le
dnothes 1.5 wiCow aivk not bing de To she vet aucl-
haviag 7e use the bleele hair C lispes cS Bnd mot haces 9
ip Dhaweé The vii pus X ee eli Ce on HL aie Gyilel ac be

ad é LoS rai Ne i nC not ‘Aud “hee The. distespec Tul
exwicer's at The H/ cor

 

 

Jury Demand {
I would like to have my case tried by a jury. Yes\() No ().

I (We) hereby certify under penalty of perjury that the above complaint is true to the best of our

information, knowledge, and belief.

Signed this_& > day of _A/OV. 2 |

 

 

e
—

ALM orl
(Signature of Plaintiff/Plaintiffs)

-3- Revised 4/18/08
